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083061.0347(207)                        RMC:lab                                      #397

                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

STATE AUTOMOBILE MUTUAL                         )
INSURANCE COMPANY,                              )
                                                )
                           Plaintiff,           )      No. 21-cv-4500
                                                )
                      v.                        )      Chief Judge Rebecca R. Pallmeyer
                                                )      Mag. Judge Jeffrey Cole
WILDBERRY PANCAKES & CAFÉ III,                  )
Inc., an Illinois corporation, DAISY            )
GABRIEL, JASMINE SAADEH, JADE                   )
VALLEJO, and JIHAD ABDALLAH,                    )
                                                )
                            Defendants.         )



            PLAINTIFF’S MOTION FOR VOLUNTARY DISMISSAL


      Now comes the Plaintiff, State Automobile Mutual Insurance Company, by its

attorney, Robert Marc Chemers of Pretzel & Stouffer, Chartered, and hereby asks this

Honorable Court to voluntarily dismiss this action without prejudice, with each party to

bear its own costs, as the action has been rendered moot as Defendant Wildberry

Pancakes & Café III, Inc. by letter dated December 12, 2021 withdrew its tender of

defense to State Automobile Mutual Insurance Company.

      WHEREFORE, the Plaintiff, State Automobile Mutual Insurance Company,

respectfully asks the Court to voluntarily dismiss this action as moot, without prejudice,

and with each party to bear its own costs, and to deny any pending motion as moot.
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                                        Respectfully submitted:



                                        s/ Robert Marc Chemers
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